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                                  UNITED STATES DISTRICT COURT
17
                                CENTRAL DISTRICT OF CALIFORNIA
18

19     IN RE: NATIONAL FOOTBALL                       Case No. 2:15-ml-02668−PSG (JEMx)
20
       LEAGUE’S “SUNDAY TICKET”                       STATEMENT OF UNDISPUTED
       ANTITRUST LITIGATION                           FACTS IN SUPPORT OF THE
21     ______________________________                 NFL DEFENDANTS’ MOTION
                                                      FOR SUMMARY JUDGMENT
22
       THIS DOCUMENT RELATES TO:                      Judge: Hon. Philip S. Gutierrez
23                                                    Date: October 27, 2023
       ALL ACTIONS
24                                                    Time: 1:30p.m.
                                                      Courtroom: First Street Courthouse
25
                                                                 350 West 1st Street
26                                                               Courtroom 6A
                                                                 Los Angeles, CA 90012
27

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                                             Motion for Summary Judgment
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